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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     YING YING GUAN,                                   Case No. 20-cv-05719-JST
                                                        Plaintiff,
                                   8
                                                                                           ORDER VACATING HEARING
                                                 v.
                                   9

                                  10     MERCEDES-BENZ USA, LLC, et al.,                   Re: ECF No. 62
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Before the Court is Defendants’ motion to dismiss. ECF No. 62. Pursuant to Federal Rule

                                  14   of Civil Procedure 78(b) and Civil Local Rule 7-1(b), the Court finds the matter suitable for

                                  15   disposition without oral argument. The hearing on this matter, currently scheduled for December

                                  16   2, 2021, is hereby VACATED.

                                  17          IT IS SO ORDERED.

                                  18   Dated: November 22, 2021
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                                                                                                     JON S. TIGAR
                                  20                                                           United States District Judge

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